              Case 23-11069-CTG         Doc 2501      Filed 03/03/24     Page 1 of 28




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                )
                                                      )       Chapter 11
YELLOW CORPORATION, et al.,                           )
                                                      )       Lead Case No. 23-11069 (CTG)
                        Debtors.                      )

 NEW YORK STATE TEAMSTERS CONFERENCE PENSION AND RETIREMENT
 FUND, ROAD CARRIERS LOCAL 707 PENSION FUND, TEAMSTERS LOCAL 641
 PENSION FUND, WESTERN PENNSYLVANIA TEAMSTERS AND EMPLOYERS
    PENSION FUND, MANAGEMENT LABOR PENSION FUND LOCAL 1730
  INTERNATIONAL ASSOCIATION OF MOTOR CITY MACHINISTS PENSION
FUND, MID-JERSEY TRUCKING INDUSTRY & TEAMSTERS LOCAL 701 PENSION
  AND ANNUITY FUND, TEAMSTERS LOCAL 617 PENSION FUND, TRUCKING
EMPLOYEES OF NORTH JERSEY PENSION FUND, AND FREIGHT DRIVERS AND
                    HELPERS 557 PENSION FUND’S
   REPLY IN SUPPORT OF THEIR MOTION TO COMPEL ARBITRATION OF
WITHDRAWAL LIABILITY DISPUTES, OR ALTERNATIVELY, FOR RELIEF FROM
           THE AUTOMATIC STAY TO INITIATE ARBITRATION

         The Funds, 1 by and through undersigned counsel, file this reply in support of their motion

to compel arbitration, or, alternatively, for relief from the automatic stay to initiate arbitration.

(“Motion to Compel,” Dkt. 2180).

                                        INTRODUCTION

         As set forth in the Funds’ Motion to Compel, Debtors’ Second Omnibus Objections

(“Omnibus Objections”) (Dkt. 1962) relate exclusively to the determination and calculation of

multiemployer pension plan withdrawal liability, and, therefore, should be resolved in arbitration




1
  The “Funds” are ten multiemployer pension plans: New York State Teamsters Conference
Pension and Retirement Fund, Road Carriers Local 707 Pension Fund, Teamsters Local 641
Pension Plan, Western Pennsylvania Teamsters and Employers Pension Fund, Management Labor
Pension Fund Local 1730, International Association of Machinists Motor City Pension Fund, Mid-
Jersey Trucking Industry & Teamsters Local 701 Pension and Annuity Fund, Teamsters Local 617
Pension Fund, Trucking Employees of North Jersey Pension Fund, and Freight Drivers and
Helpers 557 Pension Fund.
                                                  1
              Case 23-11069-CTG         Doc 2501      Filed 03/03/24     Page 2 of 28




before a specialized arbitrator, not in a bankruptcy court. Debtors’ Opposition (Dkt. 2438) fails to

meaningfully rebut the points made in the Funds’ Motion to Compel. Instead, in their Opposition,

Debtors: (i) ignore many of the Funds’ arguments and cases; (ii) continue to rely on cases that are

no longer good law under Third Circuit precedent; (iii) cite out-of-circuit cases at variance with

Third Circuit precedent, without disclosing the irrelevance of their citations; (iv) cite old case law

of this Court without disclosing that it has been expressly repudiated by the Third Circuit; (v)

baselessly imply that the federal judiciary’s own statistics about case filings are wrong; and (vi)

despite having argued that the Court should not order multiple arbitrations because the risk of

inconsistent judgments could prejudice the estates, now threaten that, if ordered to arbitrate, they

will refuse to consent to a single arbitrator, thereby creating the same problem they told the Court

they wanted to avoid in an attempt to frustrate an orderly arbitration. The Funds’ Motion to

Compel should be granted, as arbitration is the proper way to resolve the Omnibus Objections.

                                           ARGUMENT

   I.        Debtors’ Arguments That the Dispute Over Withdrawal Liability Does Not Fall
             Within the Scope of MPPAA’s Mandatory Arbitration Provision Are Wrong.

        1.      MPPAA mandates that any disputes regarding the determination and calculation of

withdrawal liability be resolved through arbitration. See 29 U.S.C. § 1401(a)(1) (“Any dispute

between an employer and the plan sponsor of a multiemployer plan concerning a determination

made under sections 1381 through 1399 of this title shall be resolved through arbitration.”)

(emphasis added).

        2.      Debtors’ Omnibus Objections to the Funds’ withdrawal liability proofs of claim

raise numerous issues under Sections 1381 through 1399. See, e.g., Motion to Compel, ¶ 10.

Debtors nevertheless raise meritless arguments that their challenges to the Funds’ withdrawal

liability proofs of claim fall outside MPPAA’s mandatory arbitration provision.

                                                  2
            Case 23-11069-CTG          Doc 2501      Filed 03/03/24     Page 3 of 28




       3.      First, Debtors argue, without citing a single case, that, because they do not believe

the Funds properly applied Sections 1381 through 1399, arbitration is not required.             See

Opposition, ¶¶ 15-18. But the entire point of mandatory arbitration for disputes regarding those

sections is to provide a specialized forum for employers to raise challenges regarding the proper

application of the provisions in Sections 1381 through 1399. Debtors’ interpretation would render

MPPAA’s mandatory arbitration provision a nullity.

       4.      Nor is it true that the Funds failed to make any determination covered by Sections

1381 through 1399 or that they “disclaimed any need to make a ‘determination’ under Sections

1381-1399, instead arguing that the PBGC gave them license to circumvent those provisions.”

Opposition, ¶ 16. The binding regulations issued by the Pension Benefit Guaranty Corporation

(“PBGC”) dictated how the Funds applied certain aspects of their determinations under Sections

1381 through 1399. But that does not mean that no such determinations were made.

       5.      Nor does it make any sense—legally or factually—for Debtors to argue that there

cannot be arbitration because there (purportedly) are “no UVBs.” Opposition, ¶ 16. A dispute

over unfunded vested benefits is an archetypical example of a dispute governed by MPPAA’s

mandatory arbitration provision. See 29 U.S.C. §§ 1391(a) (“The amount of the unfunded vested

benefits allocable to an employer that withdraws from a plan shall be determined in accordance

with subsection (b), (c), or (d) of this section.”); § 1401(a)(1) (“Any dispute between an employer

and the plan sponsor of a multiemployer plan concerning a determination made under sections

1381 through 1399 of this title shall be resolved through arbitration.”) (emphasis added).

Moreover, Debtors are simply wrong that there are “no UVBs,” regardless of whether the Special

Financial Assistance (“SFA”) the Funds received from the government is excluded from the




                                                 3
             Case 23-11069-CTG          Doc 2501      Filed 03/03/24     Page 4 of 28




determination of UVBs. See Dkt. 2224, ¶ 29 (explaining that the Funds still have billions of dollars

of UVBs, “even counting the SFA”).

       6.      Second, in a footnote, Debtors claim that “[u]nlike [Central States], the Pension

Plans realize that resting . . . on out-of-Circuit cases” like Chicago Truck Drivers v. El Paso Co.,

525 F.3d 591, 598 (7th Cir. 2008)—for the proposition that filing a proof of claim, even without a

separate payment schedule, satisfies MPPAA’s requirement for a notice and demand for

payment—“is unwise.” Opposition, ¶ 22, n.9. Once again, Debtors have it backwards: far from

shying away from El Paso, El Paso was the only case in the Funds’ Motion to Compel that was

highlighted in a block quote. See Motion to Compel, ¶ 13.

       7.      Debtors wrongly imply that El Paso is not the law in the Third Circuit, mistakenly

based on a Western District of Pennsylvania decision where the court actually held that it could

not resolve whether a proof of claim satisfied MPPAA’s notice and demand for payment

requirement because that issue was subject to arbitration. Steelworkers Pension Tr. v. Renco Grp.,

2016 WL 5173664, at *8 (W.D. Pa. Aug. 22, 2016) (“whether the notice and demand in a Chapter

11 bankruptcy must include a schedule of payments, concern[s] compliance with Section 1399,

and thus, [is] subject to arbitration”), report and recommendation adopted, 2016 WL 5121803

(W.D. Pa. Sept. 21, 2016), aff’d, 694 F. App’x 69 (3d Cir. 2017) (holding that “whether the Trust

served statutorily sufficient notice of its demand for withdrawal liability” by filing proofs of claim

in bankruptcy is “governed by section 1399(b) . . . ” and, accordingly, is subject to arbitration).

       8.      Moreover, Steelworkers Pension Tr. favorably cited El Paso for the proposition

that “schedules serve little purpose where the recipient is in bankruptcy, where the bankruptcy

court can ultimately set its own schedule.” 2016 WL 5173664, at *8. While the Steelworkers

Pension Tr. went on to note, in dicta, that “the notice in El Paso included a schedule, which is not



                                                  4
              Case 23-11069-CTG        Doc 2501      Filed 03/03/24      Page 5 of 28




the case here,” the court was discussing the issue in the context of a multiemployer plan arguing

that the employer had waived its right to arbitration—and, therefore, any resolution on the merits—

by not timely responding to the proofs of claim, which is not at issue here. See id. Debtors do not

rebut the reasoning of El Paso or cite a single contrary case.

        9.      In any event, Debtors fail to acknowledge that many of the Funds’ proofs of claims

went above and beyond by including payment schedules, even though they are not required as a

matter of law in a bankruptcy proof of claim and because Debtors are in default. See, e.g., Claim

No. 16895 at 4 (“Calculated Payment Schedule”); Claim. No. 17320 at 9 (“ESTIMATED Payment

Schedule”); Claim No. 14941 at 19 (“Withdrawal Liability Payment Schedule”). See also Dkt.

2224, ¶ 33 (“Indeed, the statutory provision which contains the 20-year cap makes clear that the

entire exercise of setting annual payments, to which the 20-year cap then applies, is inapplicable

in the event of a default.”).

        10.     Third, Debtors wrongly claim that the Third Circuit “explicitly exempts the facts

present here,” Opposition, ¶ 22 n.9, from its holding that “whether the Trust served statutorily

sufficient notice of its demand for withdrawal liability” by filing proofs of claim in bankruptcy is

“governed by section 1399(b) . . . ” and, accordingly, is subject to arbitration. Steelworkers

Pension Tr., 694 F. App’x at 74. First, Debtors claim that the Third Circuit’s opinion does not

apply where the “employer requested review of its withdrawal liability.” Opposition, ¶ 22 n.9

(quoting Steelworkers Pension Tr., 694 F. App’x at 75). But the Third Circuit created no such

carveout; rather it discussed that issue in the context of explaining that a dispute about whether an

arbitration demand was timely filed under Section 1401(a)(1)’s deadlines, rather than a dispute

under Sections 1391 through 1399, may not be arbitrable. See Steelworkers Pension Tr., 694 F.

App’x at 74-75. Second, Debtors claim that the Third Circuit created a carveout for “as Pension



                                                 5
                Case 23-11069-CTG         Doc 2501      Filed 03/03/24     Page 6 of 28




Plans did by filing Proofs of Claim, ‘cases in which the parties consented to have a federal court

determine issues that may instead be arbitrable.’” Opposition, ¶ 22 n.9 (quoting Steelworkers

Pension Tr., 694 F. App’x at 75). But the Third Circuit did not hold that arbitration was not

appropriate where proofs of claim had been filed, as the Third Circuit repeatedly discussed the fact

that proofs of claim had been filed and nevertheless ordered that the case must proceed in

arbitration. See, e.g., Steelworkers Pension Tr., 694 F. App’x at 72 (“The Trust submitted Proofs

of Claim for withdrawal liability of over $86 million to the court-approved Claims and Noticing

Agent in the RG Steel Bankruptcy on September 24, 2012.”).

   II.         Debtors’ Arguments That the Bankruptcy Code Prohibits Withdrawal Liability
               Disputes From Being Arbitrated Are Wrong.

         11.      Debtors do not dispute that “[a]t least two cased cited by Debtors confirm that

bankruptcy courts, at a minimum, have the discretion to allow objections to claims regarding

withdrawal liability to be resolved in arbitration.” Motion to Compel, ¶ 15 (citing In re BFW

Liquidation, LLC, 459 B.R. 757, 784 (Bankr. N.D. Ala. 2011); In re Interco Inc., 137 B.R. 993,

997 (Bankr. E.D. Mo. 1992)). As the Funds’ Motion to Compel pointed out, in Debtors’ briefing

against Central States, “[r]ather than acknowledge these holdings, Debtors merely note[d] that the

courts did not hold that withdrawal liability issues must always be resolved in arbitration.” Motion

to Compel, ¶ 16 (emphasis added).

         12.      In their Opposition, Debtors again conflate the issue of whether withdrawal liability

arbitrations are mandated with whether they are allowed. As a result, Debtors cite In re Interco as

the first case in the body of their brief after arguing that Section 502 mandates that bankruptcy

courts resolve withdrawal liability disputes, even though it held that bankruptcy courts have the

discretion to send such disputes to arbitration. See Opposition ¶¶ 10-12; In re Interco Inc., 137

B.R. 993, 997 (Bankr. E.D. Mo. 1992) (“The key issue to be addressed in this determination is

                                                    6
             Case 23-11069-CTG          Doc 2501      Filed 03/03/24     Page 7 of 28




whether deferral of this matter to arbitration would unduly delay administration of these

bankruptcy cases. Undue delay is not defined by the Code; rather, it is a problem ‘whose solution

ultimately rests on the exercise of judicial discretion in light of the circumstances of the case,

particularly the probable duration of the liquidation process as compared with the future

uncertainty due to the contingency in question.’”) (emphasis added).

       13.     Rather than confront their own directly-on-point case law against their position,

Debtors present a series of meritless positions similar to those they presented against Central

States. Because the Funds correctly anticipated that Debtors would take many of the same

positions here, the Funds already explained why those positions were incorrect.             Debtors’

responses to the Funds’ arguments, where made at all, are not persuasive.

       14.     First, Debtors claim that “[i]t remains undisputed that, by filing a proof of claim

against a bankruptcy estate, a creditor submits its claim to the bankruptcy court’s jurisdiction . . .

.” Opposition, ¶ 9. In support of this argument, they simply cite the same cases the Funds already

pointed out do not “pertain[] to arbitration.” See Motion to Compel, ¶ 23.

       15.     Later in their brief, Debtors acknowledge that the Funds cited case law holding that

filing a proof of claim is not a waiver of the “right to arbitrate a dispute.” See Opposition, ¶ 24;

Motion to Compel ¶ 23 (both citing In re Herrington, 374 B.R. 133, 147 (Bankr. E.D. Pa. 2007)).

Debtors, however, argue that In re Herrington does not apply “where, as here, the dispute facing

the Court is an objection to the proofs of claim that the creditor filed” rather than an “adversary

proceeding[] seeking affirmative relief . . . .” Opposition, ¶¶ 25-26. But In re Herrington itself

rejected this exact distinction, holding in the context of an adversary proceeding that: “Wells Fargo

has not waived any contractual arbitration rights simply by filing its claim in this chapter 13 case.

Nor would an objection to the proof of claim be per se non-arbitrable.” In re Herrington, 374



                                                  7
                Case 23-11069-CTG         Doc 2501     Filed 03/03/24     Page 8 of 28




B.R. at 147 (citing In re Transp. Assocs., Inc., 263 B.R. 531, 535 (Bankr. W.D. Ky. 2001))

(emphasis added). Debtors cite no contrary case law.

          16.     Second, Debtors invoke the principle “of statutory construction that the specific

governs the general.” Opposition, ¶ 20 (quoting Kannikal v. Att’y Gen. U.S., 776 F.3d 146, 150

(3d Cir. 2015)). In this respect, they then assert that the Bankruptcy Code “is far more specifically

applicable” than MPPAA’s mandatory arbitration requirement, a point they claim “is not subject

to reasonable disagreement” because “[o]nly the Bankruptcy Code (and not ERISA) specifically

speaks to the allowance or disallowance of proofs of claim.” Opposition, ¶¶ 19-21. But so too,

only MPPAA specifically speaks to the resolution of disputes regarding withdrawal liability.

          17.     Debtors also claim that “Section 1401(a)(1)’s generality is transparent” because it

applies to “[a]ny dispute” regarding a determination made under Sections 1381 through 1399 of

MPPAA. Opposition, ¶ 22. But Debtors offer no meaningful response to the Funds’ argument

that the Bankruptcy Code applies to a far broader class of disputes: “disputes over claims of

virtually any kind filed in connection with the approximately 17,000 corporate bankruptcies each

year.” Motion to Compel, ¶ 19. Debtors merely quibble with the statistics the Funds cited as to

the number of business bankruptcies each year, baselessly suggesting that it “appears” that the

Administrative Office of the United States Courts’ statistics about case filings are inaccurate. See

Opposition, ¶ 24 & n.10; Motion to Compel, ¶ 19 & n.4 (citing Administrative Office of the U.S.

Courts,         Bankruptcy      Filings     Rise       13     Percent      (Oct.      26,     2023),

https://www.uscourts.gov/news/2023/10/26/bankruptcy-filings-rise-13-percent). The sole basis

for Debtors’ meager attempt to impugn the integrity of the federal judiciary is a news article from

a private credit rating agency, which Debtors fail to disclose makes clear that it did not count all

business bankruptcies, but only those of “public companies or private companies with public debt”



                                                   8
                 Case 23-11069-CTG         Doc 2501      Filed 03/03/24       Page 9 of 28




that had also certain asset minimums. See S&P Glob. Mkt. Intel., US bankruptcies hit 13-year

peak        in     2023;     50      new       filings     in     December         (Jan.     9,     2024),

https://www.spglobal.com/marketintelligence/en/news-insights/latest-newsheadlines/us-

bankruptcies-hit-13-year-peak-in-2023-50-new-filings-in-december-79967180; Opposition, ¶ 24

& n.10. 2

        18.       In any event, Debtors ignore the Funds’ observation that “the Supreme Court has

rejected Debtors’ argument that the term ‘shall’ in a statute assigning responsibility to the federal

courts to adjudicate a specific type of claim overrides a statutory provision generally requiring

arbitration.” See Motion to Compel, ¶ 20; Shearson/Am. Exp., Inc. v. McMahon, 482 U.S. 220,

227-28 (1987) (rejecting argument that the Securities and Exchange Act, which provided that the

“[t]he district courts of the United States . . . shall have exclusive jurisdiction over violations of

this title . . . and all suits . . . brought to enforce any liability or duty created by this title . . . ,”

overrode the Federal Arbitration Act’s provision mandating the enforcement of arbitration

agreements). Instead, Debtors mention McMahon only once, later in their brief, merely for the

proposition that the Supreme Court acknowledged that another statute could “override[]”

mandatory arbitration if “Congress intended to preclude a waiver of judicial remedies for the

statutory rights at issue.” See Opposition, ¶ 26. In doing so, Debtors ignore that the Supreme

Court found “no basis for concluding that Congress intended to prevent enforcement of agreements




2
  Debtors also state that “[t]here will be disputes over more than 300 withdrawal liability Proofs
of Claim in this chapter 11 case by itself.” Opposition, ¶ 23 n.10. Debtors ignore, that, as the
Funds have already explained, “many of the Funds have filed the same proofs of claim against
each of the Debtors” as “a result of ERISA’s controlled group rules, which make affiliated
companies jointly and severally liable for withdrawal liability.” Dkt. 2224, ¶ 60 n.4. Nevertheless,
without addressing the Funds’ explanation for this ordinary multiplicity of claims, Debtors
continue to repeat the overall number of proofs of claim filed, without any explanation of its
relevance. See, e.g., Opposition, ¶¶ 1, 5, 7 n.4, 10, 16, 18, 19, 21, 23 & n.10.
                                                     9
             Case 23-11069-CTG         Doc 2501       Filed 03/03/24    Page 10 of 28




to arbitrate” even where, as here, a statute provided that the federal courts “shall” resolve a

particular category of disputes. See McMahon, 482 U.S. 220 at 242; Motion to Compel, ¶ 20.

       19.     Debtors cite a case that has nothing to do with arbitration, In re Loewen Grp.. for

the proposition that Section 502 is “clear and unambiguous.” Opposition, ¶ 21 (quoting In re

Loewen Grp. Int’l, Inc., 274 B.R. 427, 433-34 (Bankr. D. Del. 2002)). While In re Loewen Grp.

is of no relevance, it is worth noting that Debtors failed to disclose that, as shown below, In re

Loewen Grp. is red-flagged on Westlaw (the database Debtors apparently used to conduct their

research given the numerous “WL” citations) because the Third Circuit subsequently disagreed

with In re Loewen Grp. on this exact point. See In re Oakwood Homes Corp., 449 F.3d 588, 601

(3d Cir. 2006) (“We reject, as detailed above, the Loewen court’s baseline conclusion that 11

U.S.C. § 502(b) is clear and unambiguous. We decline to follow the approach of Loewen.”):




       20.     Finally, Debtors evidently concede that “[d]espite [their] putative position that the

Court cannot compel arbitration of its Omnibus Objections consistent with the Bankruptcy Code .

. . they did not dispute that the Court plainly has the authority to lift the automatic stay to allow

arbitration to proceed, if the requirements of Section 362(d) are met.” See Motion to Compel, ¶

37. See also infra at ¶¶ 38-40.




                                                 10
                Case 23-11069-CTG          Doc 2501       Filed 03/03/24    Page 11 of 28




   III.         The Issues Raised by the Omnibus Objections Should be Resolved by an
                Arbitrator.

          21.      Debtors argue that, even if the Court had the authority to order that the issues raised

by the Omnibus Objections be resolved in arbitration, it should not do so because—as set forth in

the title of Section II of Debtors’ Opposition—“Arbitration Would Needlessly Delay the Debtors’

Restructuring and Waste Estate and Judicial Resources.” Opposition, p. 15. Yet, Debtors’

Opposition never even directly addresses two of these three issues: “Judicial Resources” and

“Delaying the Debtors’ Restructuring.”

          22.      First, the Funds’ Motion to Compel made the point, supported by Third Circuit

precedent, that “having an arbitrator address . . . the merits and, as Debtors foretell, ‘discovery’

fights . . . would clearly promote ‘judicial economy’ by preserving the Court’s resources.” Motion

to Compel, ¶ 27. Debtors never directly respond to this point. While Debtors observe that

questions of law could be reviewed “de novo” in federal court, see Opposition, ¶ 33, infra at ¶ 37,

Debtors’ challenges go well beyond purely legal arguments. See, e.g., infra at ¶ 30. Moreover,

judicial resources would clearly still be preserved by an arbitrator (who is experienced in the

minutia of withdrawal liability disputes) resolving discovery disputes, holding a hearing,

evaluating expert testimony, making factual findings—which Debtors concede is necessary for

them to even attempt to show that, under their legal theory, there are no unfunded vested benefits,

see Opposition, ¶ 1 n. 3—and writing a thorough and reasoned opinion. These are the same core

functions that trial courts perform every day, dramatically reducing the burden on appellate courts.

The same is true here, and, despite the heading in their brief about “Judicial Resources,” Debtors

do not contend otherwise.

          23.      Debtors also fail to respond to the Funds’ observation that, “[i]n the event that the

Court does not order arbitration, it would need to rule on PBGC’s objections to the Court’s

                                                     11
             Case 23-11069-CTG         Doc 2501       Filed 03/03/24     Page 12 of 28




jurisdiction, likely either forcing Debtors to initiate a separate lawsuit in district court under the

APA that they could have filed months ago or positioning PBGC to file an appeal in district court

of the Court’s procedural decision.” Motion to Compel, ¶ 44 n.8 (citing PBGC filings indicated

their intent to appeal if the Court rules against their positions). This would cause further judicial

resources to be expended, regardless of the outcome. Moreover, ruling against PBGC’s objections

to the Court’s jurisdiction would cast a pall of uncertainty over the Court’s proceedings, with the

possibility that the Court’s efforts would be nullified by a procedural ruling on appeal about the

scope of the Court’s authority. While the issue PBGC has raised is a thoughtful one, Debtors’

response is not. See, e.g., Dkt. 2276 at ¶ 8, Dkt. 2451 at p. 1, 9, ¶¶ 3, 9 (Debtors calling PBGC

“arrogant” and accusing it of “extreme administrative overreach” for asking to “be heard at the

omnibus hearing on March 6, 2024,” which Debtors’ counsel does not dispute having apparently

“suggested” in the first place, deriding PBGC’s positions as “peculiar and flat-out frivolous” and

“independently absurd,” and accusing PBGC of trying “to hide the sausage-making”).

       24.     Second, while, as discussed below, Debtors make unpersuasive arguments

regarding the efficiency and length of an arbitration, Debtors do not and cannot offer any argument

that, even if the arbitration took longer than the parties’ existing Scheduling Order, it would “Delay

the Debtors’ Restructuring.”

       25.     Debtors cannot show—and make no attempt to show—that if the arbitration is not

completed by August 2024 it will delay their restructuring. Other major issues remain outstanding.

For example, Debtors are pursuing affirmative litigation seeking in excess of $137 million in the

United States District Court for the District of Kansas, with an anticipated twelve-day trial that

will not be set until “after the court rules on dispositive motions,” which are not due until July 26,

2024. See Yellow Corp., et al. v. International Brotherhood of Teamsters, et al., Case No. 6:23-



                                                 12
              Case 23-11069-CTG           Doc 2501        Filed 03/03/24      Page 13 of 28




cv-01131-JAR-ADM, Dkt. 21, ¶ 34, Dkt. 82 at 2, 9 (D. Kan. July 19, 2023 and Dec. 7, 2023). 3

Debtors also recently answered a class action adversary complaint regarding alleged WARN Act

violations. See Coughlen v. Yellow Corp., et al., Case No. 1:23-AP-50761, Dkt. 4 (Bankr. D. Del.

Feb. 7, 2024). Moreover, the United States recently filed a proof of claim in excess of $2 billion

related to environmental liabilities. See Claim No. 19,438.

        26.     Debtors’ conduct is at odds with their claim to be in a rush to have their withdrawal

liability issues resolved. For example, after objecting to Central States’ withdrawal liability proofs

of claim on December 8, 2023, see Dkt. 1322, Debtors waited nearly two months, until January

26, 2024, to file nearly identical objections to the Funds’ withdrawal liability proofs of claim, see

Dkt. 1962—and only did so then, so that they could, literally moments later, file an opposition to

Central States’ motion to compel arbitration that argued: because Debtors “already objected to . .

. these claims . . . [r]eferring each of these disputes to . . . different arbitrators . . . would . . . cause

extensive and unnecessary disruption to the Debtors’ chapter 11 cases” and “[p]lunge the . . .

[p]roceedings [i]nto [c]haos.” Dkt. 1965 at p. 18, ¶ 32 (emphasis added). Of course, now that the

problem of piecemeal arbitration has been solved by the Funds’ and Central States’ cooperation, 4

Debtors now state that they actually prefer piecemeal arbitration and the attendant delay and

inefficiency to a single arbitrator. See infra at ¶¶ 31-32; Opposition, ¶¶ 7 n.4, 31-32. And Debtors

still have not objected to what they have described as “the remaining sets of several hundred MEPP




3
  While several of the Funds cover Teamsters union employees, the Funds are separate and
legally distinct entities that are not implicated in any of the allegations in Debtors’ Amended
Verified Complaint against the International Brotherhood of Teamsters. See generally id., Dkt.
21.
4
  The Funds and Central States are working to develop a long list of arbitrators acceptable to each
of them, and are prepared to move expeditiously with the selection of a single arbitrator for all of
their withdrawal liability claims. Debtors show no signs of any similar willingness to move
promptly to pick an arbitrator.
                                                     13
             Case 23-11069-CTG         Doc 2501       Filed 03/03/24     Page 14 of 28




claims, which also present largely overlapping issues,” which they told the Court—in connection

to their opposition to Central States’ motion to compel arbitration—that they would do “prior to

February 14, 2024.” Dkt. 1965, ¶ 32 n.15.

       27.     Third, with respect to efficiency and the parties’ resources, Debtors argue that, “[a]s

a threshold matter, it is at best unclear whether arbitration is ever, or usually, more efficient than

litigation in the federal courts.” Opposition, ¶ 31. In doing so, Debtors ignore the Third Circuit

precedent repeatedly cited by the Funds—specifically addressing withdrawal liability disputes—

holding that arbitrations are more efficient, in favor of law review articles that say nothing about

withdrawal liability. See, e.g., Motion to Compel, ¶ 9 (“The Third Circuit has explained that the

purposes of the arbitration requirement include that it: (i) ‘substantially reduces the expenses

incurred by multiemployer plans’; (ii) ‘promotes judicial economy’; (iii) avoids ‘delay’; and (iv)

allows for resolution by arbitrators with ‘special’ ‘expertise.’ See Flying Tiger Line v. Teamsters

Pension Tr. Fund of Philadelphia, 830 F.2d 1241, 1248-49, 1252 (3d Cir. 1987).”); Opposition, ¶

31 n.16.

       28.     Next, Debtors argue, with no authority, that “arbitration is rarely (if ever) more

efficient than litigation in bankruptcy courts.” Opposition, ¶ 31. Once again, Debtors simply

ignore the directly-on-point case law to the contrary cited by the Funds. See In re BFW, 459 B.R.

at 797 (relying on Flying Tiger Line to order that withdrawal liability claims be resolved by an

arbitrator rather than a bankruptcy court, explaining that Congress intended “the MPPAA

arbitration provisions to be the preeminent method for resolving withdrawal liability disputes

because it believed them to constitute the most expeditious and economical method for resolving

those disputes”); Motion to Compel, ¶ 25. Debtors also ignore this Court’s own case law, cited by

the Funds, holding that arbitration “often results in a quicker and more economic resolution of



                                                 14
             Case 23-11069-CTG          Doc 2501       Filed 03/03/24     Page 15 of 28




claims” than “the bankruptcy process,” which “favor[s] arbitration.” In re GWI, 269 B.R. 114,

118-19 (Bankr. D. Del. 2001). See also Dkt. 1329, ¶¶ 3-4 (Debtors advocating for the use of

alternative dispute resolution in order to, inter alia, “minimize[e] expenses for all interested parties

(including the Debtors),” “avoid the delay and expenses associated with protracted litigation,” and

“promote the early resolution of [claims]”).

       29.     While ignoring Flying Tiger Line, In re BFW and In re GWI, Debtors rely on a

single decision of this Court that is plainly distinguishable—for reasons that Debtors already

explained to the Court, but now ignore. In their Opposition to Central States’ Motion to Compel

Arbitration, Debtors argued that “[r]eferring each of these disputes to 20 different arbitrators . . .

would . . . cause extensive and unnecessary disruption the Debtors’ chapter 11 cases” by, inter

alia, creating “the risk of inconsistent rulings.” See Dkt. 1965, ¶ 32. In making that argument,

Debtors explained that this Court held, in In re APF Co., that “staying the subject adversary

proceeding in favor of arbitration [would] seriously jeopardize[] Bankruptcy Code Objectives,”

including “preservation of the Debtors’ estate by . . . requiring [the expenditure of] limited

resources and energies pursuing similar cases in several geographically diverse fora.” Dkt. 1965,

¶ 32 (quoting In re APF Co., 264 B.R. 344, 364 (Bankr. D. Del. 2001)). See also In re APF Co.,

264 B.R. at 364 (explaining that the “fragmentation of this adversary proceeding” which would

“resolve only those claims which are based on contracts that happen to contain arbitration clauses

will result in piecemeal litigation,” would not be “in the bests interests of either party”). Debtors

have now excised those portions of the In re APF decision from their briefing and suggest that it

stands for the general proposition that arbitration is inefficient and expensive in the bankruptcy

context (which it does not). See Opposition, ¶ 35.




                                                  15
             Case 23-11069-CTG            Doc 2501       Filed 03/03/24    Page 16 of 28




       30.         Debtors purport to incorporate by reference their “opposition to [Central States]’s

motion to compel arbitration,” claiming that “the instant disputes turn on questions of law that no

arbitrator has ever had to decide, and no arbitrator could possibly have special ‘expertise’ regarding

those questions.” Opposition, ¶ 36. The Funds already responded to these arguments, including

by:

       (a) Disproving, with case law, Debtors’ claim that no arbitrator has dealt with questions

             about whether there are any UVBs or whether estoppel applies; Motion to Compel, ¶

             31;

       (b) Pointing out that Debtors’ claim that they are pursuing purely legal issues is “belied by

             Debtors’ own Omnibus Objections which, for example, assert that ‘the Pension Plans’

             calculations are not entirely clear and the Debtors will need discovery to fully

             understand the claims,’ after which Debtors will rely on ‘expert discovery,’ including

             to ‘establish the appropriate discount rate,’ and ‘will be prepared to prove at trial, that

             based on a rational set of economic assumptions, the Pension Plans actually had either

             zero or close to zero UVBs as of the Petition Date . . . .’” Motion to Compel, ¶ 29; and

       (c) Identifying multiple issues raised by the Omnibus Objections, including the

             reasonableness of assumptions, that “fall within areas Congress designated for

             arbitration and are within the expertise of arbitrators.” Motion to Compel, ¶ 32.

Debtors offer no response to the Funds’ arguments in this regard beyond the conclusory opinion

that they are “weaker still” than the Funds’ arguments about the efficiency of arbitration. See

Opposition, ¶ 36.

       31.         Unable to muster a legal argument against arbitration, Debtors argue that arbitration

will be less efficient, only because they seem determined to do everything in their power to make



                                                    16
             Case 23-11069-CTG          Doc 2501       Filed 03/03/24     Page 17 of 28




it less efficient. In particular, Debtors state that it “is unlikely” they will “agree[] to a single

arbitrator” to hear all the withdrawal liability claims and that, even if they did, “the parties would

still be haggling over the identity of any arbitrator(s) in August 2024 when, under this Court’s

Scheduling Order, the parties would otherwise be trying this case.” See Opposition, ¶ 7 n.4; id. ¶¶

31-32 (“It is highly unlikely that the 11 pension funds and the Debtors could even agree on

arbitrators, and that dispute alone would likely require court review and decision (which might

still be undecided by August). . . . [A]ssuming that the parties are unable to reach agreement on

the identity of arbitrator(s)—which seems inevitable—the parties would have to seek relief in

federal district court, a process that could itself take months.”).

       32.     As an initial matter, Debtors need not consent to a single arbitrator, as the Court

can and should order it given that Debtors have also objected to piecemeal arbitration. See Dkt.

1965, ¶ 42 (“[T]he Debtors would suffer great prejudice if these withdrawal liability disputes were

to proceed in separate, parallel arbitrations” that “would subject the Debtors to the risk of

conflicting judgments.”). Debtors identify no prejudice from a single arbitrator, as opposed to

multiple arbitrators.

       33.     As for Debtors’ claim that it “seems inevitable” that “the parties would have to seek

relief in federal district court” to select an arbitrator, Opposition, ¶ 32, that has occurred only in

rare cases, generally where the parties have behaved poorly.            See, e.g., Gen. Elec. Co. v.

Boilermaker-Blacksmith Nat’l Pension Tr., No. 19-2780-EFM, 2020 WL 3455198, at *1 (D. Kan.

May 28, 2020) (appointing withdrawal liability arbitrator after the parties engaged in “petty

squabbling” and the defendant reneged on its willingness to agree to an arbitrator it had previously

proposed). Further, the Funds are willing for this Court to hear any dispute over the appointment,

and to resolve any dispute over the selection, of such single arbitrator.



                                                  17
               Case 23-11069-CTG       Doc 2501       Filed 03/03/24     Page 18 of 28




         34.     The Funds agreed, in good faith, to a joint scheduling order (“Scheduling Order,”

Dkt. 2195) with Central States and Debtors, so that the objections to their claims could move

forward regardless of whether they are resolved in Bankruptcy Court or arbitration. The parties

agreed, and the Court ordered, that “[a]ll rights of all parties with respect to demanding arbitration

are reserved and neither the Parties’ agreement to this Order nor the Court’s entry thereof shall

prejudice any Party with respect to the pending and anticipated arbitration motion.” See id. n.2.

Disregarding this agreement (framed in language Debtors proposed) and the Court’s order, Debtors

now repeatedly argue that the Scheduling Order should preclude arbitration. See, e.g., Opposition,

¶ 40 (“[T]his Court has already entered a scheduling order . . . [T]he Pension Plans stand to suffer

no prejudice . . . from abiding by a schedule to which they already agreed . . . .”); ¶ 33 (“The

Pension Plans do not and cannot argue that this outcome is ‘more efficient’ or ‘less expensive’

than simply proceeding in this Court under the agreed scheduling order.”).

         35.     As their only evidence that an arbitration would be slower and more expensive,

Debtors cherry pick a random withdrawal liability dispute that they claim “took 36 total months”

to resolve. See Opposition, ¶ 34. Not only is this example cherry-picked and of no relevance, but

it is an apples-to-oranges comparison for several reasons, including: (i) discovery has already

commenced in this case; (ii) the apparent principal source of the delays were in district court and

at the Third Circuit; and (iii) the American Arbitration Association rules, which Debtors rely on,

provide that an arbitration “award shall be made promptly by the Arbitrator and, unless otherwise

agreed to by the parties, no later than 30 days from the date of the closing of the hearings . . . .”

American Arbitration Association, Multiemployer Pension Plan Arbitration Rules for Withdrawal

Liability Disputes, § 36 (Jan. 1, 2020). 5 MFN, in its Joinder, otherwise addressed infra at ¶¶ 48-



5
    https://www.adr.org/sites/default/files/Multiemployer_Pension_Plan_Withdrawal_Liability.pdf
                                                 18
              Case 23-11069-CTG         Doc 2501       Filed 03/03/24     Page 19 of 28




54, engages in a similarly arbitrary exercise with a “Sample List” of arbitration timelines that is an

even more egregious apples-to-oranges comparison since it starts counting on the “Date of

Withdrawal Liability Assessment,” which is the equivalent of the filings of the Funds’ proofs of

claim, which occurred long ago. See 2440-1, Appx. A.

        36.     There is no cause for concern about schedule: the Funds are 100% committed to

meeting the schedule agreed among the parties and ordered by this Court, whether the dispute over

their withdrawal liability claims proceeds in this Court or before an arbitrator. 6

        37.     Moreover, implicit in both Debtors’ argument regarding timing and their argument

that arbitration would waste time because “the losing parties would inevitably seek de novo review

in federal court” on “questions of law,” see Opposition, ¶ 33, is the untenable premise that

arbitration decisions are appealable to federal district court, but this Court’s decisions are not. See,

e.g., In re Oakwood Homes, 449 F.3d at 592 (“We exercise plenary review over the Bankruptcy

Court’s legal decisions, and application of law to fact.”).

       38.      Finally, Debtors’ arguments against lifting the automatic stay generally track their

arguments against granting a motion to compel arbitration, see generally Opposition, ¶¶ 38-42,

with two exceptions. First, Debtors concede that the Court has the statutory authority to, in its

discretion, lift the automatic stay to allow arbitration to proceed. See supra at ¶ 20. Second,

Debtors argue that “the Pension Plans [do not] show that they have any probability of prevailing

on the merits,” because the “the Pension Plans devote only two sentences to arguing that their



6
  As Debtors’ counsel pointed out during the negotiations of the schedule, the parties cannot know
the availability of the arbitrator to begin the hearing in August as the agreed schedule contemplates
since (s)he has not yet been selected. But the parties are already moving forward with the pre-
hearing tasks in accord with the Scheduling Order and the Funds hereby confirm what they have
already represented to Debtors—the Funds intend to be ready for trial on the objections to their
withdrawal liability claims starting no later than August 2024, on as early a date as the arbitrator
is available.
                                                  19
             Case 23-11069-CTG         Doc 2501       Filed 03/03/24    Page 20 of 28




position . . . is ‘[o]bviously’ correct . . . .” Opposition, ¶ 41 (citing Motion to Compel, ¶ 43). In

reality, those two sentences were not the only sentences on the topic, see Motion to Compel, ¶¶

41-45, but they were key sentences:

       Obviously, a condition regarding how a multiemployer fund can treat SFA money
       for the purpose of “determining unfunded vested benefits . . . for determining
       withdrawal liability,” 29 C.F.R. § 4262.16(g)(2), has a “bearing” on or “concerns”
       withdrawal liability. Debtors have not contended otherwise, and, instead, chose to
       omit any mention of the “relating to” language from their briefing. See, e.g.,
       Debtors’ Reply, ¶¶ 16, 17.

Motion to Compel, ¶ 43. See also id. (“In Morales v. Trans World Airlines, Inc., the Supreme

Court held that “[t]he ordinary meaning” of the phrase “relating to . . . is a broad one—‘to stand

in some relation; to have bearing or concern; to pertain; refer; to bring into association with or

connection with[.]’” 504 U.S. 374, 383 (1992) (quoting Black's Law Dictionary 1158 (5th ed.

1979))”).

       39.     Despite correctly identifying these two sentences as key sentences in the Funds’

argument on the merits, Debtors have offered no substantive response. None. In other words,

Debtors—after at least five months of work on this exact topic (as discussed below)—are still

failing to acknowledge the key language in the statute that they claim PBGC errantly relied on

when it issued the regulation with which Debtors claim the Funds wrongly complied. Moreover,

Debtors do not dispute that there are no “even remotely analogous case[s] that declined to lift the

automatic stay based on a conclusory assertion that a creditor should not have followed a binding

federal regulation.” Motion to Compel, ¶ 45.

       40.     As for the other merits issues Debtors identify—“whether principles of equity,

including estoppel, should preclude the Pension Plans from obtaining a double recovery; and

whether the Pension Plans can ignore the 20-year statutory cap and/or refuse to discount their

withdrawal liability claims to present value,” Opposition, ¶ 41—the Funds addressed all of them,

                                                 20
               Case 23-11069-CTG        Doc 2501       Filed 03/03/24    Page 21 of 28




in detail, each with case law citations and analysis, in their Response to the Debtors’ Omnibus

Objections. See Dkt. 2224 ¶¶ 31-36 (explaining that the 20-year cap and a discount to present

value are not required because Debtors are in default); ¶¶ 57-65 (explaining that there is no double

recovery here, and, in any event, bankruptcy courts cannot invoke principles of equity to modify

rights under non-bankruptcy law without a specific statutory authorization). Rather than address

any of the Funds’ substantive arguments—to which they still have not replied—Debtors imply that

the Funds made no such Response and purport to incorporate their Omnibus Objections, to which

the Funds already responded. See Opposition, ¶ 41. The Funds need only make a “very slight”

showing on the merits necessary to warrant relief from the automatic stay, see Izzarelli v. Rexene

Prods. Co. 141 B.R. 574, 578 (Bankr. D. Del. 1992). By not offering a substantive response,

Debtors have conceded the point.

   IV.         In the Alternative, the Court Should Hold that the Omnibus Objections Must Be
               Heard in Arbitration.

         41.      Debtors argue that holding withdrawal liability claims must be arbitrated would be

a “revolution” with no “cases supporting [that] outcome.” Opposition, ¶ 13. Debtors are wrong.

         42.      To begin with, Debtors do not dispute that “[a]ccording to at least one bankruptcy

court in the Third Circuit, ‘[t]he extent of [withdrawal] liability must be determined under the

arbitration provisions of MPPAA (unless the parties agree as to its amount).’” Motion to Compel,

¶ 34 (quoting In re Mushroom Transp. Co., Inc., 90 B.R. 718, 728 (Bankr. E.D. Pa. 1988)).

Debtors, however, characterize this holding as dicta in an “unrelated case focusing on an unrelated,

narrow issue: that two entities can be considered one for withdrawal liability purposes.”

Opposition, ¶ 13. In reality, the court held that Third Circuit precedent requires withdrawal

liability disputes to be arbitrated, except to the extent they involve “the narrow issue of whether [a

company], which had never made MPPAA contributions, is by virtue of MPPAA part of a

                                                  21
              Case 23-11069-CTG          Doc 2501        Filed 03/03/24     Page 22 of 28




conglomerate the whole of which is the employer.” In re Mushroom Transp., 90 B.R. at 721–22.

The court, therefore, resolved that narrow issue, concluded that the companies were under common

control and subject to withdrawal liability, and, as a result, ordered that “[t]he extent of this liability

must be determined under the arbitration provisions of MPPAA (unless the parties agree as to its

amount).” Id. 90 B.R. at 728. Debtors’ assertion that, “inclusive of Mushroom . . . courts have

all refused to hold that ERISA supplants the Bankruptcy Code’s claims adjudication provisions

and requires withdrawal liability proofs of claim to be decided in arbitration,” Opposition, ¶ 13

(emphasis added), is simply not accurate.

        43.     Debtors offer only one case that post-dates Mushroom and the Supreme Court’s

decision in McMahon—which Debtors concede sets the relevant framework for addressing a

purported conflict between statutes over whether arbitration is required. See Motion to Compel, ¶

36; Opposition, ¶¶ 26. Debtors do not dispute that this one case, In re Interco, “did not discuss

McMahon” and relied on what the Third Circuit subsequently clarified in In re Mintze was the

wrong test to determine whether arbitration was required:

        [The] In re Interco court relied on its interpretation of then-existing Third Circuit
        precedent as requiring arbitration of “non-core bankruptcy proceedings” but
        allowing discretion as to whether to order arbitration for “a core proceeding.” In re
        Interco Inc., 137 B.R. at 997 (citing Hays & Co. v. Merrill Lynch, 885 F.2d 1149
        (3d Cir. 1989)). But the Third Circuit subsequently disavowed that reading of Hays
        in In re Mintze, holding that: “We disagree with this interpretation—that the
        application of Hays is limited to non-core proceedings. . . . We find that the standard
        we articulated in Hays applies equally to core and non-core proceedings.” In re
        Mintze, 434 F.3d at 230-31.

Motion to Compel, ¶ 36. Nevertheless, Debtors continue to rely on In re Interco, without even

acknowledging (much less disputing) that it is no longer good law in the Third Circuit.

        44.     Debtors had previously argued that this now-repudiated core/non-core distinction

was the reason this Court could not allow arbitration. See Dkt. 1965, ¶ 18 (“[Central States] fails



                                                    22
             Case 23-11069-CTG          Doc 2501       Filed 03/03/24    Page 23 of 28




to cite a single opinion holding that ERISA requires bankruptcy courts to abdicate their core claims

allowance . . . function[] in deference to arbitrators.”); id. ¶ 30 (“[Central States] seeks to subvert

the bankruptcy process in favor of arbitration. The clear text of the Bankruptcy Code precludes

this result . . . ‘The allowance and disallowance of claims, which are core matters arising under .

. . the Bankruptcy Code, fall within the exclusive jurisdiction of bankruptcy courts.’”) (quoting In

re PRS Ins. Grp., 335 B.R. 77, 84 (Bankr. D. Del. 2005)).

       45.     In light of Mintze, Debtors now concede that the core/non-core distinction is the

wrong way to determine whether arbitration is mandatory. Debtors now claim that the correct test,

under Mintze, is whether a case is an “adversary proceeding[]” (which would be subject to

mandatory arbitration) or an objection to a proof of claim (which would not be subject to

mandatory arbitration). See Opposition, ¶¶ 25-28. But that is not what Mintze says. Mintze says

that the relevant distinction is “between causes of action derived from the debtor [which are subject

to mandatory arbitration] and bankruptcy actions that the Bankruptcy Code created for the benefit

of the creditors of the estate [which are not subject to mandatory arbitration].” In re Mintze, 434

F.3d at 230. As this case involves claims that were created under MPPAA, not any cause of action

created under the Bankruptcy Code, there is no “inherent conflict” between the Bankruptcy Code

and MPPAA that would authorize declining to enforce MPPAA’s mandatory arbitration provision.

See In re Mintze, 434 F.3d at 230-32.

       46.     Debtors do not and cannot dispute that there are “no post-Mintze reported cases in

which any court in the Third Circuit refused to enforce an arbitration clause because of a

fundamental conflict with the Bankruptcy Code.” In re Rotondo Weirich Enterprises, Inc., 583

B.R. 860, 871 n.16 (Bankr. E.D. Pa. 2018). See also Motion to Compel, ¶ 35. Debtors therefore

turn to out-of-circuit case law, while failing to disclose that their lead case, which expressly



                                                  23
             Case 23-11069-CTG         Doc 2501       Filed 03/03/24     Page 24 of 28




disagrees with Mintze and explains why Debtors’ argument fails under Mintze, is not good law in

this Circuit. See Opposition, ¶ 28 n.14 (citing In re Payton Const. Corp., 399 B.R. 352, 363–64

(Bankr. D. Mass. 2009)). In re Payton Const. explained that “[n]umerous courts have opined on

this issue, but with diverse results” and that the “test” adopted by four courts of appeal, including

“In re Mintze, 434 F.3d 222, 231 (3rd Cir.2006)” “has two problems,” including that “many ‘core’

proceedings—for example claims against the estate . . . do not arise exclusively under the

Bankruptcy Code” and therefore “[a]rbitration would still be required.” In re Payton Const., 399

B.R. at 361–62 & n.9. Mintze, of course, remains binding precedent in the Third Circuit, and as

Debtors’ own case law now confirms, the Funds’ Motion to Compel arbitration must be granted

under Mintze. Again, this was readily apparent on the Westlaw database:




       47.     Finally, Debtors reiterate their argument that the “shall” language in Section 502(b)

means there is a conflict between the Bankruptcy Code and MPPAA, which, under McMahon,

must be resolved against arbitration. See Opposition, ¶¶ 26-27. But, as discussed above, Debtors

fail to confront the reality that McMahon held exactly the opposite: finding “no basis for

concluding that Congress intended to prevent enforcement of agreements to arbitrate” even where,

as here, a statute provided that the federal courts “shall” resolve a particular category of disputes.

See McMahon, 482 U.S. 220 at 242; supra at ¶ 18.


                                                 24
                 Case 23-11069-CTG         Doc 2501       Filed 03/03/24    Page 25 of 28




      V.         MFN’s Joinder in Opposition to Arbitration Does Not Change the Outcome.

           48.      In an 11th hour effort to shore up Debtors’ opposition to arbitration, Debtors’ self-

described “largest equity security holder,” MFN Partners, LP (“MFN”), filed a joinder to Debtors’

oppositions to both Central States’ Motion to Compel and the Funds’ Motion to Compel

(“Joinder,” Dkt. 2440). See also id., ¶ 8.

           49.      The apparent purpose of the Joinder is to complain that “Creditors and other

shareholders of an employer are not entitled to participate in an ERISA arbitration as a matter of

right” such that they “can object and have their voices heard.” Joinder, at 3, ¶ 7 & n.5. 7

           50.      If it was of importance to MFN to have the right to weigh in on Central States’ or

the Funds’ withdrawal liability proofs of claim in bankruptcy court—or even join in Debtors’

objections—MFN does not explain why it failed to pursue such a right until now. Debtors objected

to Central States’ withdrawal liability proofs of claim nearly three months ago, on December 8,

2023. See Dkt. 1322. Only one interested party weighed in: PBGC. See Dkt. 1630. PBGC was

also the only interested party to weigh in on Debtors’ objections to the Funds’ withdrawal liability

proofs of claim. See Dkt. 2128. In both instances, PBGC opposed, in part, Debtors’ objections.

See generally Dkts. 1630, 2128. Nobody weighed in to support, in whole or in part, Debtors’

objections.

           51.      MFN, of course, as Debtors’ largest shareholder, has no need “to participate in an

ERISA arbitration” as a separate party, Joinder, ¶ 7, and offers no explanation of why it would

need to participate. Debtors and MFN are, for all intents and purposes, one and the same. See

Joinder, ¶ 8 (“this Court should be aware that the Debtors’ largest equity securities holder stands

shoulder to shoulder with the Debtors”). Indeed, until now, MFN worked with Debtors behind the


7
    The Joinder has two paragraphs numbered “7.”
                                                     25
            Case 23-11069-CTG         Doc 2501       Filed 03/03/24    Page 26 of 28




scenes. Prior to its Joinder, MFN had not a made a single filing in this case other than a notice of

appearance and pro hac vice applications on August 8, 2023. See Dkts. 90-93. Instead—as

Debtors’ lead counsel’s fee applications reveal—MFN and its counsel at Quinn Emanuel Urquhart

& Sullivan, LLP, Eric Winston, have long been working together on Debtors’ withdrawal liability

challenges, including:

       • Discussing “pension withdrawal liability” in August 2023. See Dkt. 858-5 at 47

       (“telephone conference with E. Winston re pension withdrawal liability”);

       • Coordinating throughout October and November 2023 on “withdrawal claim liability

       considerations” “pension considerations, “pension issues”, and the “claims objection” to

       Central States’ withdrawal liability claims. See, e.g. Dkt. 1484-5 at 131 (“conference with

       . . . MFN re pension considerations;” “conference with . . . Quinn team[] re withdrawal

       claim liability considerations”) (Oct. 12, 2023); id. at 136 (“conference with . . . MFN re

       pension issues”) (Oct. 20, 2023); Dkt. 2083-5 at 130 (“Conference with Quinn Emmanuel

       re claims objection” and “Conference with E. Winston re claims objection”) (Nov. 30,

       2023); 8 and

       • Collaborating, on December 20 and 21, 2023, on a draft of the subpoena that Debtors

       served on PBGC on December 22, 2023 regarding Central States’ withdrawal liability

       claims and the validity of the PBGC’s SFA regulation. See Dkt. 2083-5 at 30 (“correspond

       with . . . E. Winston re draft subpoena re pension, related considerations“); id. at 31



8
  Adjacent entries make clear that the “claims objection” Debtors were working on at the time was
the “objection to Central States proofs of claim” and the “pension plan claims objection,” and that,
in connection with it, they were working “with M. Hofing re draft claims objection.” Id. at 8-9.
Mitchell Hofing is an actuary and “consult[ant] to employers on all aspects of their participation
in multiemployer pension plans including testifying on their behalf in a variety of arbitration and
court cases.” See https://www.dexhof.com/bios.php. See also Dkt. 756 (declaration of
disinterestedness submitted by Mitchell Hofing).
                                                26
             Case 23-11069-CTG         Doc 2501       Filed 03/03/24     Page 27 of 28




       (“correspond with . . . E. Winston . . . re draft subpoena”); Dkt. 1465-1 (subpoena served

       on PBGC).

       52.     If all it took to avoid arbitration and remain in bankruptcy court was a request from

debtors’ largest shareholder (or any shareholder, for that matter), no debtor would ever be required

to arbitrate anything—which is clearly not the law.

       53.     Finally, in a footnote, MFN claims that joint subpoenas issued by Central States

and the Funds to MFN and its affiliates, on the last day to issue “written discovery requests in

connection with the Objection” under the Scheduling Order, is “[b]izarre[]” and “inconsistent with

seeking private arbitration between them and the Debtors.” See Joinder, ¶ 8 n. 7; Scheduling

Order, ¶ (1)(a); Dkt. 2482 (notice of subpoenas). Not so. Discovery, even directed to third parties,

happens in arbitrations. Central States and the Funds were merely complying with the parties’

agreement, and the Court’s order, to proceed with issuing discovery on precisely this schedule,

without “prejudice [to] any Party with respect to the pending and anticipated arbitration motion.”

Scheduling Order n.2.

       54.     The same footnote also claims that “MFN believes there is no reason for it to be

targeted with the discovery sought and reserves all rights to seek judicial relief,” an odd stance for

an interested party that demands that its “voice[]” be “heard” in the proceeding. The joint

subpoena, another sign of the efficiency the Funds and Central States have brought to this matter

by their cooperation, is precisely the opportunity MFN has wished for, since its information

relevant to this dispute will be considered, at a minimum through its response to the subpoena. 9




9
 The time for the parties to notice depositions under the agreed Scheduling Order has not yet
passed.
                                                 27
            Case 23-11069-CTG         Doc 2501       Filed 03/03/24   Page 28 of 28




                                        CONCLUSION

        For the reasons set forth above and in the Funds’ Motion to Compel, the Court should order

that the issues raised in Debtors’ Omnibus Objections be resolved in arbitration.



Date:   March 3, 2024                        SULLIVAN ∙ HAZELTINE ∙ ALLINSON LLC
        Wilmington, Delaware
                                             /s/ William D. Sullivan
                                             William D. Sullivan (No. 2820)
                                             William A. Hazeltine (No. 3294)
                                             919 North Market Street, Suite 420
                                             Wilmington, DE 19801
                                             Tel: (302) 428-8191
                                             Email: bsullivan@sha-llc.com
                                                     whazeltine@sha-llc.com

                                             GROOM LAW GROUP, CHARTERED
                                             Edward J. Meehan (pro hac vice)
                                             Samuel I. Levin (pro hac vice)
                                             Tel: (202) 857-0620
                                             Email: emeehan@groom.com
                                                     slevin@groom.com


                                             Special Counsel for the Funds




                                                28
